 Case 3:18-cv-00090-NKM-JCH Document 50 Filed 05/18/21 Page 1 of 1 Pageid#: 364



                                 APPEARANCE SHEET
                        FOR THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


Ira D. Socol                                      )       CASE NO.: 3:18cv00090
                                                  )
v.                                                )       DATE: 5/18/21
                                                  )
Albemarle County School Board                     )
                                                  )
TYPE OF HEARING: Motion Hearing                   )       Time in Court: 12:02-12:50=48 minutes

**********************************************************************************
                               PARTIES/SPEAKERS:
1.    USMJ - Joel C. Hoppe                  6.
2.    Jennifer Royer                        7.
3.    Mr. Holden                            8.
4.    Jeffrey Adams                         9.    deputy clerk – Karen Dotson
5.                                          10.

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CD NO(S). Recorded using AT&T Conference Manager RECORDED BY: Karen Dotson

  Index        Spkr.    Index    Spkr.    Index       Spkr.    Index      Spkr.   Index     Spkr.
   No.                   No.               No.                  No.                No.
 12:02     1,9,1,9     37       1,4,1
           1,2         38       4,1,4
                       39       1,4
 10        4,1         41       1,4
 10        2           42       1,4
 12        1,2         43       1,4
 14        1,2         46       1,4
 20        1,2,1       47       1,4,1,2
 23        1           50       1,2,4
 24        2                    1
 27        1,2,1,2
 30        1,2
 32        1,4
